Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 1 of 10 PageID #:
                                  25141




                               EXHIBIT C
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 2 of 10 PageID #:
                                  25142



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,

                               v.

  RICHARD XIA, a/k/a YI XIA, and FLEET NEW                          21-cv-05350-PKC-JAM
  YORK METROPOLITAN REGIONAL CENTER,
  LLC, f/k/a FEDERAL NEW YORK
  METROPOLITAN REGIONAL CENTER, LLC,

                                Defendants,

  JULIA YUE, a/k/a JIQING YUE;
  XI VERFENSTEIN, and XINMING YU,

                                Relief Defendants.


        [PROPOSED] ORDER APPOINTING DISTRIBUTION ADMINISTRATOR

        WHEREAS this Court has entered a Final Judgment in this action as to Defendants

 Richard Xia (“Xia”) and Fleet New York Metropolitan Regional Center (“Fleet”), and Relief

 Defendant Julia Yue (“Yue”);

        WHEREAS Plaintiff Securities and Exchange Commission (“SEC,” “Commission,” or

 “Plaintiff”), Defendants Xia and Fleet, and Relief Defendant Yue have jointly moved for the

 appointment of a distribution administrator for all funds paid by Defendants Xia and Fleet and

 Relief Defendant Yue pursuant to the Final Judgment; and,

        WHEREAS the Court finds that, based on the record in these proceedings, the

 appointment of a distribution administrator in this action is necessary and appropriate for the

 purposes of preserving and distributing all funds paid by Defendants Xia and Fleet and Relief

 Defendant Yue pursuant to the Final Judgment, including post-judgment interest;

                                                  1
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 3 of 10 PageID #:
                                  25143



         WHEREAS this Court has subject matter jurisdiction over this action and personal

 jurisdiction over the Defendants, and venue properly lies in this district; and

         NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

 THAT:

         1.       This Court hereby takes exclusive jurisdiction and possession of all funds to be

 paid by Defendants pursuant to the Final Judgment in this action, including post-judgment

 interest.

         2.       Until further Order of this Court, Robert Seiden, Esq. of Seiden Law LLC is

 hereby appointed to serve without bond as distribution administrator (the “Distribution

 Administrator”) for all funds, including post-judgment interest, to be paid by or collected from

 Defendants pursuant to the Final Judgment and which, pursuant to the Final Judgment, shall

 remain in the Court’s Registry Investment System (“CRIS”) pending further order of the Court

 and until the Distribution Administrator is prepared to make distributions pursuant to the

 distribution plan.

 I.      Distribution Administrator’s Authority and Duties

         3.       The Distribution Administrator shall serve as the custodian of all funds, including

 post-judgment interest, paid by or collected from Defendants pursuant to the Final Judgment in

 this action (“Funds”), including any such funds added to any Fair Fund established by this Court

 (“Fair Fund”).

         4.       The Distribution Administrator shall take all necessary steps to enable the Fair

 Fund to obtain and maintain the status of a taxable “Settlement Fund,” within the meaning of

 Section 468B of the Internal Revenue Code and of the regulations.




                                                   2
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 4 of 10 PageID #:
                                  25144



        5.      The Distribution Administrator shall, among other things, provide the following

 services:

                a.     Submit to the Court for approval a distribution plan that includes such

                       terms as are described herein;

                b.     Implement the Court-approved distribution plan;

                c.     Administer the distribution of the Fair Fund;

                d.     Coordinate with the Tax Administrator to prepare accountings and ensure

                       that the Fair Fund complies with all legal and regulatory requirements; and

                e.     Maintain accurate records concerning the Fair Fund.

        6.      The Distribution Administrator shall distribute the Fair Fund only (a) directly to

 or for the benefit of investors who suffered losses (“EB-5 Investors”) in connection with the

 Eastern Mirage Project and the Eastern Emerald Project (the “Projects”), job-creating entities

 under the EB-5 visa program administered by the United States Citizenship and Immigration

 Service (“USCIS”), or (b) in accordance with the provisions of Paragraphs 16 through 23 of this

 Order for payment of approved compensation or reimbursement of expenses owing to the

 Distribution Administrator. Further, the Distribution Administrator shall distribute the Fair Fund

 to EB-5 Investors only pursuant to a distribution plan approved by this Court or otherwise

 ordered by this Court, and shall provide the Court with an accounting of the Funds so distributed.

 Any remaining Funds collected by the Distribution Administrator that are not distributed under a

 Court-approved plan shall be paid to the Commission.




                                                 3
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 5 of 10 PageID #:
                                  25145



        7.      Upon an order of this Court or no later than 90 days following the date of

 appointment, the Distribution Administrator shall propose a distribution plan for the disposition

 of the Fair Fund. The distribution plan shall provide that the Fair Fund be distributed pursuant to

 Section 308(a) of the Sarbanes-Oxley Act of 2002.

        8.      The distribution plan shall include a process by which each EB-5 Investor may

 elect whether to receive their pro rata share of any distribution in the form of a distribution

 payment or, instead, to have their pro rata share of any distribution returned to the respective

 “new commercial enterprise” in which they previously invested (i.e., EMMCO, L.P., EMMCO

 Tower, L.P., EMMCO NQMC, L.P., EEGH, L.P., or EEGH II, L.P, together the “NCEs”) for use

 in developing the Projects. However, the election process shall include the following limitation:

 any EB-5 Investor’s pro rata share of any distribution may only be returned to an NCE for use in

 developing the Projects if all the following conditions are first met:

                a.      Defendant Xia has relinquished all ownership and control of Defendant

                        Fleet, and provided a certification described in Paragraph VIII(b) of the

                        Final Judgment;

                b.      Defendant Fleet has filed an application on Form I-956 with USCIS

                        requesting approval of the new ownership of Fleet and designation of

                        Fleet as a regional center in the EB-5 program; and

                c.      USCIS has approved Defendant Fleet’s Form I-956 application, and any

                        conditions required in connection with such approval have been satisfied,

                        and USCIS must not have taken adverse action against Fleet up to and

                        including termination.




                                                   4
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 6 of 10 PageID #:
                                  25146



        9.      The distribution plan shall also include a process by which, in the event that

 USCIS terminates or debars Defendant Fleet, then an EB-5 investor may elect to attempt to

 exercise their rights, if any, under Section 203(b)(5)(M)(ii) of the Immigration and Nationality

 Act (“Section M Rights”), [8 U.S.C. § 1153(b)(5)(M)(ii)], including as set forth in paragraph 10.

        10.     The distribution plan shall provide that if USCIS terminates or debars Defendant

 Fleet, then the Distribution Administrator shall:

                a.      first, take reasonably practicable steps to evaluate what actions, if any, the

 EB-5 investors who have elected to have their pro rata share of any distribution returned to the

 EB-5 program, as contemplated by Paragraphs 8 and 9, may take to attempt to exercise any

 Section M Rights such investors may have. This may include, for example and among other

 things, the Distribution Administrator’s communication with USCIS, review of USCIS guidance,

 consultation with counsel with expertise in EB-5 matters, and solicitation of instructions from

 EB-5 investors concerning the disposition of their respective pro rata shares of any distribution

 consistent with their Section M Rights; and

                b.      second, within 120 days of USCIS’s termination or debarment of Fleet,

 file with the Court a proposed plan for the EB-5 investors to attempt to exercise their Section M

 Rights, if practicable, or if the Distribution Administrator determines in its discretion that such

 exercise is not practicable, explaining why such exercise is not practicable, in which case the

 Distribution Administrator shall distribute each investor’s pro rata share of the settlement to the

 investor.

        11.     The distribution plan shall also provide that if USCIS does not terminate or debar

 Defendant Fleet, but the conditions set forth in Paragraphs 8(a), (b), or (c) are not otherwise




                                                     5
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 7 of 10 PageID #:
                                  25147



 satisfied, then the Distribution Administrator shall distribute each investor’s pro rata share of the

 settlement to the investor.

        12.     Upon an order of this Court or no later than 90 days following the date of

 appointment, the Distribution Administrator shall submit to the Court for approval a proposed

 notice to the EB-5 Investors regarding each EB-5 Investor’s rights concerning the potential

 distribution contemplated by Paragraphs 8 to 11, including each EB-5 Investor’s right to elect to

 have their pro rata share of any distribution returned to the respective NCE for use in developing

 the Projects (and the limitations on such rights), and requesting that each EB-5 Investor provide a

 response and election regarding their potential rights to any distribution (the “Notice”), and the

 Notice shall provide that each EB-5 Investor may make their election within 45 days unless the

 Distribution Administrator determines, in its discretion, that additional time is necessary, in

 which case the Distribution Administrator may require each EB-5 Investor to make their election

 within up to 75 days. In the Notice, the Distribution Administrator shall establish a process for

 each EB-5 Investor to respond.

        13.     The Distribution Administrator shall respond to EB-5 Investor inquiries regarding

 any distribution.

        14.     The Distribution Administrator shall cause all distributions to be made within two

 years of this Order, unless such date is extended by the Court, and all distributions contemplated

 hereunder shall be subject to any claims process stated in the distribution plan. If,

 notwithstanding any investor’s election to have their pro rata share of any distribution returned

 to the EB-5 program, the Distribution Administrator is unable to direct the investor’s pro rata

 share back to the EB-5 program within the two year time period provided for in this Paragraph

 (including, but not limited to, due to any action or absence of action by USCIS), then the



                                                   6
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 8 of 10 PageID #:
                                  25148



 Distribution Administrator shall distribute the investor’s pro rata share of the settlement to the

 investor. Any Funds that are not returned to any investor or that are unclaimed after six months

 from the date for the completion of all distributions shall be treated as not distributed pursuant to

 the last sentence of Paragraph 6.

        15.     The Distribution Administrator shall have the discretion to apply to the Court to

 modify the deadlines in Paragraphs 7, 10, 12, and 14.

 II.    Distribution Administrator’s Fees, Expenses and Accountings

        16.     The Distribution Administrator shall obtain Court approval prior to the

 disbursement of Funds for expenses incurred in the ordinary course of performing its duties

 hereunder, and for payment of applicable federal, state, or local taxes.

        17.     The Distribution Administrator is authorized to engage persons and entities

 (“Retained Personnel”) to assist them in carrying out the duties and responsibilities described in

 this Order. The Distribution Administrator shall not engage any Retained Personnel without first

 obtaining an Order of the Court authorizing such engagement.

        18.     The Distribution Administrator and Retained Personnel are entitled to reasonable

 compensation and expense reimbursement from the Funds as described in the “Billing

 Instructions for Receivers in Civil Actions Commenced by the U.S. Securities and Exchange

 Commission” (the “Billing Instructions”) agreed to by the Distribution Administrator, attached

 as Exhibit 1. Such compensation shall require the prior approval of the Court.

        19.     Within forty-five (45) days after the end of each calendar quarter, the Distribution

 Administrator and Retained Personnel shall apply to the Court for compensation and expense

 reimbursement from the Funds (the “Quarterly Fee Applications”). At least thirty (30) days prior

 to filing each Quarterly Fee Application with the Court, the Distribution Administrator shall



                                                   7
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 9 of 10 PageID #:
                                  25149



 serve upon counsel for the SEC a complete copy of the proposed Application, together with all

 exhibits and relevant billing information in a format to be provided by SEC staff.

         20.     All Quarterly Fee Applications shall be interim and shall be subject to final

 review upon the Distribution Administrator’s completion of their duties hereunder. Upon the

 Distribution Administrator’s completion of their duties hereunder, the Distribution Administrator

 shall file a final fee application, describing in detail the costs and benefits associated with all

 actions pursued by the Distribution Administrator during the course of their exercise of their

 obligations hereunder.

         21.     Each Quarterly Fee Application shall:

                 a.       Comply with the terms of the Billing Instructions agreed to by the

                          Distribution Administrator; and,

                 b.       Contain representations (in addition to the Certification required by the

                          Billing Instructions) that: (i) the fees and expenses included therein were

                          incurred in the best interests of the EB-5 Investors; and, (ii) with the

                          exception of the Billing instructions, the Distribution Administrator has

                          not entered into any agreement, written or oral, express or implied, with

                          any person or entity concerning the amount of compensation paid or to be

                          paid from the Funds, or any sharing thereof.




                                                     8
Case 1:21-cv-05350-PKC-JAM Document 450-4 Filed 07/05/24 Page 10 of 10 PageID #:
                                   25150



        22.     Upon the Distribution Administrator’s completion of their duties hereunder, the

 Distribution Administrator shall submit a final report, in a format to be provided by SEC staff or

 by the Court, as well as the Distribution Administrator’s final application for compensation and

 expense reimbursement.

        23.     The Distribution Administrator and all persons who may be engaged or employed

 by the Distribution Administrator to assist them in carrying out their duties and obligations

 hereunder shall not be liable for any act or omission of the Distribution Administrator or such

 person, respectively, or any of their partners, employees, agents, unless it shall be proven that the

 Distribution Administrator or such other person in acted or omitted to act in bad faith. This

 provision shall apply to claims based on conduct during the term of any agreement that may be

 entered into between the Distribution Administrator and any other person who may be engaged

 by the Distribution Administrator hereunder, even if such claims are filed after the termination of

 any such agreement.


 IT IS SO ORDERED, this _____ day of ___________, 2024,



                                                       ________________________________
                                                       Hon. Pamela K. Chen
                                                       United States District Judge




                                                   9
